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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                   COLUMBIA DIVISION

  The South Carolina State Conference of the      )
  NAACP, and Taiwan Scott, on behalf of           )
  himself and all other similarly situated        )
  persons,                                        )         C/A No.: 3:21-cv-03302-MGL-TJH-RMG
                                                  )
                          Plaintiffs,             )
                                                  )
                  v.                              )
                                                  )
  Thomas C. Alexander, in his official            )
  capacity as President of the Senate; Luke A. )
  Rankin, in his official capacity as Chairman )
  of the Senate Judiciary Committee;              )
  G. Murrell Smith, Jr. in his official capacity )          ORDER
  as Speaker of the House of Representatives; )
  Chris Murphy, in his official capacity as       )
  Chairman of the House of Representatives )
  Judiciary Committee; Wallace H. Jordan, in )
  his official capacity as Chairman of the        )
  House of Representatives Elections Law          )
  Subcommittee; Howard Knapp, in his              )
  official capacity as interim Executive          )
  Director of the South Carolina State            )
  Election Commission; John Wells, Chair, )
  JoAnne Day, Clifford J. Elder, Linda            )
  McCall, and Scott Moseley, in their             )
  official capacities as members of the South )
  Carolina State Election Commission,             )
                                                  )
                          Defendants.             )
  ____________________________________)

         This matter comes before the Court on Defendants’ motion to stay the Order of January 6,

  2023 pending completion of the appellate process. (Dkt. No. 495). Plaintiffs oppose the motion.

  (Dkt. No. 500). For reasons set forth below, the motion for a stay is denied. The Court further

  addresses a change in circumstances resulting from the Defendants’ submission of a Notice of




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  Intent to File an Appeal, which necessitates a change in the date for the legislature to submit a

  proposed remedial plan to the Court.

         I.      Addressing a Change in Circumstances Resulting from Defendants’ Notice
                 of Intent to File an Appeal

         By way of background, the Court issued its Findings of Fact and Conclusions of Law on

  January 6, 2023, which concluded that Congressional District No. 1 constituted an unconstitutional

  racial gerrymander in violation of the Equal Protection Clause of the Fourteenth Amendment

  because race was the predominant factor in the adoption of the district’s reapportionment plan.

  (Dkt. No. 493). It is well established that upon the finding by a federal court that a challenged

  legislative district is unconstitutional, the legislature should be given a reasonable opportunity to

  recommend for consideration a remedial plan that meets constitutional standards. Wise v.

  Lipscomb, 437 U.S. 535, 540 (1978). To that end, the Court provided the legislature the

  opportunity to submit a remedial plan to the Court by March 31, 2023. (Dkt. No. 493 at 30). The

  Court intended thereafter to allow the parties to comment upon the legislature’s proposed remedial

  plan, produce evidence in support of their respective positions, offer other plans if they desired,

  and conduct an evidentiary hearing and oral argument, as necessary, prior to the adoption of a

  remedial plan for Congressional District No. 1.

         Defendants advised the Court on January 27, 2023 of their intention to file an appeal and

  requested a stay of the Court’s January 6, 2023 order. (Dkt. No. 495). The filing of an appeal in

  this case necessarily alters the Court’s schedule for consideration and adoption of a remedial plan.

  In short, the Court has no intention to proceed with consideration and adoption of a remedial plan

  during the pendency of any appeal before the United States Supreme Court. In light of the notice

  of Defendants of their intention to file an appeal, the Court hereby alters the date the legislature




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  may submit a remedial plan for Congressional District No. 1 to the Court from March 31, 2023

  until 30 days after a final decision of the United States Supreme Court.1

            II.    Defendants’ Motion to Stay Does Not Meet the Well Established Standards
                   for the Grant of a Stay Pending Appeal

            A motion to stay an order of the lower court pending appeal to the United States Supreme

  Court requires consideration of the following factors: (1) whether the applicant for the stay has

  made a strong showing that it is likely to succeed on the merits; (2) whether the applicant will be

  irreparably injured absent the entry of a stay; (3) whether the issuance of a stay will injure other

  parties to the litigation; and (4) where the public interest lies. Nken v. Holder, 556 U.S. 418, 434

  (2009). The Court finds that Defendants do not meet the standards for the grant of a stay in this

  matter.

                   A. Defendants have not shown a strong likelihood of success on the merits.

            The Court’s findings of fact and conclusions of law are based upon a careful examination

  of the voluminous evidence offered at trial, an assessment of the credibility of the witnesses, and

  an application of the consistent body of Supreme Court caselaw extending from Shaw v. Reno, 509

  U.S. 630 (1993) and Miller v. Johnson, 515 U.S. 900 (1995) to the more recent cases of Alabama

  Legislative Black Causes v. Alabama, 575 U.S. 254 (2015) and Cooper v. Harris, 581 U.S. 285

  (2017). Based upon the Defendants’ Motion for a Stay, it appears Defendants disagree with the

  Court’s factual findings, credibility determinations, and application of legal standards. Defendants



  1
     The filing of an appeal normally transfers jurisdiction of all matters relating to the appeal from
  the district court to the appellate court. Under the present circumstances, no appeal has yet to be
  filed with the United States Supreme Court, only a notice of intent to file an appeal. Further, even
  if an appeal had been filed, the trial court retains jurisdiction to address matters in aid of the appeal.
  See Grand Jury Proceedings Under Seal v. United States, 947 F.2d 1188, 1190 (4th Cir. 1991).
  The Court finds that its change in its schedule to consider and adopt a remedial plan for
  Congressional District No. 1 occasioned by the filing of an appeal is in aid of the appeal.


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  also appear to be arguing against precedent rather than relying upon existing Supreme Court

  authority.2 Having reviewed Defendants’ arguments regarding alleged deficiencies and errors in

  the Order in this matter, the Court finds that Defendants have not made a strong showing of a

  likelihood of success on the merits.

                 B. Defendants have not shown they will suffer irreparable injury from
                    the denial of a stay.

         It is important at the outset to clarify what the Court’s order actually requires of the parties

  because it differs markedly from the factual scenario Defendants have set forth in their effort to

  demonstrate irreparable injury from the denial of a stay. After finding that the reapportionment

  plan for Congressional District No. 1 constituted an unconstitutional racial gerrymander, the Court

  enjoined Defendants from conducting any future election in Congressional District No. 1 until a

  constitutionally compliant plan was adopted. (Dkt. No. 493 at 31). This followed the longstanding

  practice since Reynolds v. Sims, 377 U.S. 533, 585 (1964), that where a “legislative apportionment

  scheme has been found to be unconstitutional, it would be the unusual case in which a court would

  be justified in not taking appropriate action to insure no further elections are conducted under an

  invalid plan.” The next scheduled general election in Congressional District No. 1 is in November


  2
    One example of this is Defendants’ lead argument in their motion for a stay that the Court
  “disregarded the alternative-map requirement.” (Dkt. No. 495 at 3). The Supreme Court held in
  Cooper v. Harris, a 2017 decision, that there was not a mandatory alternative map requirement to
  prove a violation of the Fourteenth Amendment. 581 U.S. 285, 319-20 (2017). In this case, the
  Court ruled with Plaintiffs regarding Congressional District No. 1 and with Defendants regarding
  Congressional District Nos. 2 and 5. Plaintiffs’ remedial plans reflected their position that all three
  congressional districts were unconstitutional and did not address the scenario where only
  Congressional District No. 1 was found to be unconstitutional. After carefully reviewing the
  various maps under consideration, the demography of the State, and the ease with which legislative
  districts can now be drawn with computer driven software, the Court found “that a constitutionally
  compliant plan for Congressional District No. 1 can be designed without undue difficulty, and it
  was thus not necessary for Plaintiffs to present an acceptable alternative map to prevail on their
  claims.” (Dkt. No. 493 at 30). Defendants’ motion for a stay argues to the contrary and against
  the Supreme Court’s holding in Cooper.


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  2024, and party primaries in South Carolina are normally conducted during the summer before the

  next general election. In short, there is no election scheduled in Congressional District No. 1, or

  any other South Carolina congressional district, for more than a year.

         Defendants argue, however, that the Court planned to adopt a remedial plan during the

  pendency of the appeal and to potentially schedule a special election before a Supreme Court

  decision. (Dkt. No. 495 at 25). The Court never contemplated such a series of events, and no

  order of this Court provided such a plan. When the Court issued its order in early January 2023,

  it anticipated an orderly process to adopt a remedial plan. As stated above, once Defendants

  advised the Court of their intent to appeal, the Court delayed the first step of that process, the

  receipt of any remedial plan proposed by the legislature, until 30 days after the Supreme Court’s

  final decision.

         Defendants have not addressed in their motion for a stay any irreparable injury they might

  suffer from the Court’s injunction against conducting an election in Congressional District No. 1

  under the now declared unconstitutional plan. The Court finds that Defendants have not shown

  that they will suffer any irreparable injury from the denial of a stay in this case.

                    C. Plaintiffs would suffer irreparable injury by the grant of a stay.

         A grant of a stay would lift the Court’s injunction against conducting an election in

  Congressional District No. 1 until a constitutionally compliant reapportionment plan has been

  adopted. The Court has every hope and expectation that the appeal process can be completed and

  a remedial plan adopted before the 2024 primary and general elections. However, on the outside

  chance the process is not completed in time for the 2024 primary and general election schedule,

  the election for Congressional District No. 1 should not be conducted until a remedial plan is in

  place. This is based on the well-established principle that where fundamental voting rights have




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  been violated, plaintiffs suffer irreparable injury until the constitutional deprivation has been

  removed. See League of Women Voters of North Carolina v. North Carolina, 769 F.3d 224, 247

  (4th Cir. 2014). The Court finds that Plaintiffs could suffer irreparable injury if a stay was granted

  in this case.

                  D. The Public Interest Lies in the Denial of a Stay.

          The public interest lies in upholding fundamental voting rights. Id. at 247-48; Obama for

  America v. Husted, 697 F.3d 423, 436-37 (6h Cir. 2012). The grant of a stay under these

  circumstances is plainly not in the public interest.

                                               Conclusion

          The Defendants’ motion for a stay (Dkt. No. 495) is DENIED. The Court has altered the

  date for the legislature to submit a remedial plan to the Court until 30 days after a final decision in

  this matter of the United States Supreme Court.

          AND IT IS SO ORDERED.




                                                                 _s/ Mary Geiger Lewis
                                                                 Mary Geiger Lewis
                                                                 United States District Judge

                                                                 s/ Toby J. Heytens
                                                                 Toby J. Heytens
                                                                 United States Circuit Judge

                                                                 s/ Richard Mark Gergel
                                                                 Richard M. Gergel
                                                                 United States District Judge




  February 4, 2023
  Charleston, South Carolina



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